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                EXHIBIT 7
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                        0




                                  Compology Maintenance
                                  Compology Maintenance
                                  it Everyone


                             UNINSTALL                        OPEN




                                     00  Tools      Similar


                               App for Compology technicians.



                            WHATS NEW
                            Preparing to make the Compology app available


                              a                                  0




        Compology
R12 User Manual /Installation
       Instructions


                                                                            RTS_00333865
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                 The Basics




                                                                    RTS_00333866
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                                                    ID LABEL


                                               STATUS INDICATOR LIGHT
                                                •  Turning On

                                                •     Sensor Good
                                                •     Sensor Error (Check Logs)




                                                    MOUNTING POINTS




                                                                              RTS_00333867
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                                                                                      Main Menu


                             la 9:23

                                                                                      Tasks
                                           \moor                                      List View
                                            F2-6286
                                            Compology                                 Map View
                                            Restart device and replace if necessary                      ? if necessary
                                                                                      New Install

Username                                    F1-7731
                                            Compology                                 Sensors
Dn-rv.--Td                    C             Restart device and replace if necessary                      ? if necessary
                                                                                      Logs

               Log                                                                    On/Off

                                                                                      Verify Image
Need Help?




                                                                                      What's New

                                                                                      Logout

                         ❑                        <1           O            ❑             <1         O         ❑



             1. Login                             2. Click Icon                          3. Main Menu




                                                                                                                          RTS_00333868
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 Tasks

 List View
                                                                                      Tasks
 Map View
                                                Start here to complete maintenance tasks or installs
                          if necessary
 New Install



                          if necessary
                                            •    List View — View of maintenance tasks in a list
                                            •    Map View — View of maintenance tasks on a map
                                            •    New Install — Create a new bin and assign a sensor




                         I




                              IP    09:19


                 Tasks

F2-6286
Compology
Restart device and replace if necessary

F-1-7731
Compology
Restart device and replace if necessary




                                                  F1-7731
                                                  Compology
                                                  Restart device and replace if necessary

      .1          0            ❑



           List View                                       Map View                           New Install


                                                                                                            RTS_00333869
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                                                                       Sensor Tools
                                                    Tap phone to sensor to interact and get info
                          if necessary



 Sensors
                          if necessary
                                            •   Logs — View diagnostic info on a sensor
 Logs                                       •   On/Off — Turn sensor on or off
 On/Off
                                            •   Verify Image — See the latest image from a sensor
 Verify Image




                              IP   0 9'20                                        12 0 9'21                               k.W 11 C 09:22

                 Logs                                            On/Off                                   Verify Image

Tap the back of your phone to a sensor           Tap the back of your phone to a sensor      Tap the back of your phone to a sensor,
to read logs from the most recent time           to turn it on or off.                       or enter the sensor ID, to see its most
it turned on.                                                                                recent image.

                                                                                             kensor ID




                  0            ❑



                Logs                                         On/Off                                Verify Image


                                                                                                                                          RTS_00333870
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                 New Install




                                                                    RTS_00333871
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                                             1. ENTER BIN INFORMATION
 ID

 Size (yd3)                                    •    ID — Enter number/name on outside of bin
 [Sandbox] 1045 Bryant                         •    Size — Enter the size of bin in cubic yards
                                               •    Organization — Select the organization for this bin
                                               •    Content — Select the type of material in container


                                                                                       IMPORTANT: You will need to select an
                                             CLICK & HOLD                              organization if you are assigned to multiple.
                                                                                       Make sure you select the correct one!



                              ip a 0 2:58            RE 8                                   3:00


                FS-7713             Cancel                           FS-7713           Cancel

 1. Bin Information                                  1. Bin Information                                                 Position flat
 2. Choose Sensor Type                               2. Choose Sensor Type
                                                                                                                        over
 What does your sensor look like?                                                                                       sensor's
                                                     3. Activate and Assign Sensor
                                                                                                                        angled
                                                     Tap sensor to turn it on and wait up to 5
                                                     minutes for a fresh image to appear                                camera
                                                     below. Verify image is in focus before
                                                     clicking 'Complete'. If there are errors,
                                                                                                                        surface as
                                                     try another sensor.                                                shown
                                                     Install started 4 minutes ago




                                                                    Complete


                      0




2. CHOOSE SENSOR                                     3. TAP PHONE TO
      TYPE                                         SENSOR TO ACTIVATE

                                                                                                                                        RTS_00333872
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                                                                                                  If new image does not appear
                                                                                                  within 15 minutes:

                                                                                                   1.   Restart the current sensor by
                                                                                                        tapping sensor to turn off and
                                                                                                        then on
                                       0       G •                          5J 1 II'     I 3:20    2.   Wait for new image
                                                             FS-7713                   Cancel      3.   If no new image appears, try
ID of the sensor waiting to            1. Bin Information                                               new sensor
be assigned to the bin.                2. Choose Sensor Type

Tapping any sensor will                                                                           IMPORTANT: Do not install sensor if
                                       3. Activate and Assign Sensor
turn on or off that sensor             Tap sensor to turn it on and wait up to 5
                                                                                                  new image does not appear
                                       minutes for a fresh image to appear
and change the ID                      below. Verify image is in focus before
                                       clickingyomplete'. If there are errors,

                                       Sensor ID: 0286001685251C




4. VERIFY GREEN IMAGE                           Image taken 5 minutes ago
                                           0
& NO ERRORS                            Sen-or CPS error!                                          If you see 'Sensor GPS Error':

5. COMPLETE                                                                                        1.   Move to a location where you
                                                                                                        can see the sky,
                                                                                                   2.   Restart current sensor and wait
                                                                                                        for new image
                                                                                                   3.   If GPS error remains, try new
                                                                                                        sensor

                                                                                                  IMPORTANT: Do not install sensor
                                                                                                  with GPS error.



                                                                                                                                RTS_00333873
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  Turning Sensor On/Off




                                                                     RTS_00333874
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On/Off will be used to turn a sensor                            TURNING ON
on or off when not in a task. You can
use it to restart a sensor you want to                          Wait 5-10s, blue light will
check.                                                          blink slowly 5X, and then
                                                                flash a blue light every 2s
                                                                during startup sequence



                                                                                                          461111 I                                         1:41

                                                                                                                               On/Off

Tap the back of your phone to a sensor                                     Position flat                  Tap the back of your phone to a sensor
to turn it on or off.                                                                                     to turn it on or off.
                                                                           over
                                                                           sensor's
                                                                           angled
                                                                                                              Nice work! The sensor is now turning
                                                                           camera                             on or off. Blue lights indicate that it is
                                                                                                              turning on.
                                                                           surface as
                                                                                                                                                      OK
                                                                           shown




                                                                                                                                  0




IMPORTANT: Make sure any                                        TURNING OFF
sensors in your bag or inventory are
OFF and all sensors you are installing                          Immediately, yellow light will
into bins are ON. Pay careful                                   blink 10X very quickly and
attention to the indicator lights.                              then turn off



                                                                                                                                                     RTS_00333875
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  Checking Sensor Logs




                                                                     RTS_00333876
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                           -* ♦
                           ss      O0 2(1

                 Logs                                                                                                  Tap the back of your phone to a sensor
                                                                                                                       to read logs from the most recent time
Tap the back of your phone to a sensor                                     Position flat                               it turned on.
to read logs from the most recent time
it turned on.                                                              over                                        Sensor I D: 02860016852510
                                                                           sensor's                                    Sensor Model: R12
                                                                                                                       Sensor Firmware: oscar-0236
                                                                           angled              "DING!"                 Wake Reason: brownout reset
                                                                           camera                                      Checkpoint: Ox10000000

                                                                           surface as                     1011111111
                                                                                                                       Logs from 2:42pm Nov 16, 2017 0
                                                                           shown
                                                                                                                           CLK
                                                                                            Green = Good
                                                                                                                           VREF
                                                                                              Red = Error
                                                                                                                           VBAT


                                                                                                                           ACCEL
                               ■
                                                                                                                           SRAM


                                                                                                                           SPIFLASH

                                                                                                                           ALS

                                                             Most common errors:
Logs should be used to                                                                                                     NEC_CONNECT

identify root issues when a
                                                               •   MODEM_CONNECT (cannot                                   NFC_IC
sensor is not uploading an
                                                                   get cell signal). In this situation,                    F_LED OS
image. It can only be taken
                                                                   restart sensor and try again
after a sensor has gone                                                                                                    F_LED_OT
                                                                   before replacing
through it's startup sequence
                                                               •   GPS LOCK (cannot get GPS                                GPS
and the indicator light is no
                                                                   signal). Move to a location                             GPS_LOCK
longer flashing.
                                                                   where you can see the sky and
                                                                                                                           BLE
                                                                   try again before replacing
                                                                   sensor                                                  CAM_O_IN IT

                                                               •   SYSTEM will be an error if                              MODEM_SIM
                                                                   anything has failed
                                                                                                                           MODEM_CONNECT


                                                                                                                       I   SYSTEM




                                                                                                                                                     RTS_00333877
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               Verify Image




                                                                     RTS_00333878
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Verify Image should be used after a
sensor is restarted to check to see if
an image was uploaded successfully
                                                                                                                               SENSOR ID



                                                                                                                        52 4                         F,'T.       a 31 3
                            ..S't V   9:22
                                                                                                                                       Verify mage
             Verify Image
                                                                                                                        Tap the back of you phone to a sensor,
Tap the back of your phone to a sensor,                                    Position flat                                or enter the sensor to see its most
or enter the sensor ID, to see its most                                                                                 recent image
recent image.                                                              over
'Sensor ID                                                                 sensor's
                                                                           angled           "DING!"
                                                                           camera
                                                                           surface as                  111111111110.-



                                                                           shown



                                                                                                                        Battery 100.0%




                                                                                                                                           ()                0




                                                                                                             VERIFY GREEN IMAGE &
                                                                                                             NO ERRORS




                                                                                                                                                     RTS_00333879
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               Maintenance




                                                                     RTS_00333880
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   Tasks

   List View
                                                                             Viewing Tasks
   Map View
                                                                   Start here to complete maintenance tasks
                      if necessary
   New Install
                                                  •      List View — When a task is assigned to you, it will appear on
   Sensors
                      if necessary                       this list. Tasks will stay here until it is completed, skipped or
   Logs

   On/Off
                                                         removed by a Compology Manager
   Verify Image
                                                  •      Task Notes — Each task will have instructions for you to
                                                         follow

   What's New
                                                                                                                         *'41 I1:38
   Logout
                                                                                                Task for PORTR-A-1 (R11 EVT-1)
                  0
                                                      PORTR-A-1 (R11 EVT-1)                   TASK

                                                      Meanwhile in Santa Cruz...              Created 4 minutes ago
                                                      Sensor malfunctioning. Inspect sen...   Organization Compology
                                                      Created 3 minutes ago                   Notes Sensor malfunctioning.
                                                                                                    Inspect sensor
Each individual
                                                      KRSG-FD-REC (R11 EVT-1)
task to complete                     -11   11111010
                                                                                              CONTAINER
                                                      Unknown Customer
is listed here                                        Test                                    ID PORTR-A-1 (R11 EVT-1)
                                                      Created 3 minutes ago                   Type roll off • refuse
                                                                                              Size 40yd

                                                                                              SENSOR

                                                                                              ID 028600085782C6
                                                                                              Battery 0%
                                                                                              Type R11

                                                                                              LOCATION




                                                                  List View                              Task Details


                                                                                                                                      RTS_00333881
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                                                           Finding the Sensor
                                                      Find the last known location of the sensor

                                             1.   Select task you want to complete from the List
                                                  View
                                             2.   Scroll down and select "Get Directions". Google
                                                  Maps will automatically appear
                                             3.   Select "Directions"




   1. Select Task                                                     2. Get Directions                      3. Google Maps


  I                         * `Id III 1.38

               Tasks                                                    Task for PORTR-A-1 (R11 EVT-1)
                                                                      LOCATION
PORTR-A-1 (R11 EVT-1)                                                 Name Meanwhile in Santa Cruz...
Meanwhile in Santa Cruz...                                            Address Someplace in Santa Cruz
Sensor malfunctioning. Inspect sen...
                                                                      GPS 36.98515,-122.05758 (4m
Created 3 minutes ago                                                     accuracy)                                                                        Westla
                                                                                                                                                   Elementary Scho
                                                       .    1110111    Get Directions                                                                    High St
KRSG-FD-REC (R11 EVT-1)
Unknown Customer
Test                                                                  INVESTIGATE
                                                                                                                                          Univer• y
Created 3 minutes ago                                                  Verify Image     Check Logs   FAO                                 Terrace ' :rk



                                                                      SENSOR TOOLS

                                                                       Turn On/Off      Uninstall

                                                                                                           Unnamed location
                                                                            I've Completed This Task       near Santa Cruz• California • 6d 1 hr      in


                                                                                                           01 MORE INFO                            DIRECTIONS
                                                                           I Can't Complete This Task

                 0           ❑                                              <I            0




                                                                                                                                                                     RTS_00333882
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      Can't find the Container
If you arrive to the location provided by Google Maps
and the container is not there, or you cannot access                                                           You've located the
the location:
                                                                                                                  container?
 1.       Select the task for that specific sensor
 2.       Scroll down to the bottom of the task
 3.       Select "I Can't Complete This Task"
 4.       Mark all boxes that apply                                                                             CONTINUE TO NEXT PAGE
 5.       Select "Submit and Skip Task"


      1. Select Task                                           2. Scroll down                                              Select options,
                                                                                                                             Skip Task

      I                       *    III 1:as                                                 * I     III 1:41                                            *    • 1:57


                  Tasks                                        Task for PORTR-A-1 (R11 EVT-1)                                       Task for Test

                                                             Name Meanwhile in Santa Cruz...
  PORTR-A-1 (R11 EVT-1)                                                                                                Why can't you complete this task?
                                                             Address Someplace in Santa Cruz
  Meanwhile in Santa Cruz...                                                                                           ❑ I can't access the location
                                                             GPS 36.98515, -122.05758 (4m
  Sensor malfunctioning. Inspect sen...                          accuracy)                                                 I can't find the container




                                                                                                                       M
  Created 3 minutes ago
                                                              Get Directions                                           1:1 I'm not available for tasks
                                                                                                                       1:1 Other
  KRSG-FD-REC (R11 EVT-1)
  Unknown Customer                                           INVESTIGATE
  Test                                                        Verify Image     Check Logs         FAQ
  Created 3 minutes ago
                                                             SENSOR TOOLS

                                                              Turn On/Off      Uninstall


                                                                   I've Completed This Task                                    Submit and Skip Task


                                                                  I Can't Complete This Task                                    Add Additional Notes


                                                                                0           ❑                                                            0




                                                                                                                                                                      RTS_00333883
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Troubleshooting the
                                                           Is the sensor missing or physically
      sensor                                                           damaged?



                          Use task
                           tools to                                                                      Replace sensor.
                                                                NO                      YES
                         investigate                                                                     Go to next page
                            issue


     Task for PORTR-A-1 (R11 EVT-1)
                                                                             Did the sensor post
  Name Meanwhile in Santa Cruz...            To investigate-                 green and get a new
  Address Someplace in Santa Cruz                                               clear image?
  GPS 36.98515, -122.05758 (4m
      accuracy)                               1.   Turn sensor
    Get Directions                                 off & on again
  INVESTIGATE                                                                  YES            NO
    Verify Image     Check Logs   FAQ
                                                   Check for
                                                   green logs
  SENSOR TOOLS
    Turn On/Off      Uninstall
                                                   Check for
         I've Completed This Task                  new image                 Select "I've Completed
                                                                                   This Task"
        I Can't Complete This Task




                                                                                                                  RTS_00333884
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                                                                     Replacing a sensor
                                                                              Procedure to replace a sensor

                                                 1.   In the task, select "uninstall"
                                                 2.   Turn off sensor
                                                 3.   Complete Uninstall - Continue to next page




1. Select "Uninstall"                                       2. Uninstall                                                   3. Complete
                                                           instructions                                                     Uninstall
                                *'5/j III 1:39                                     *'4 11:47


   Task for PORTR-A-1 (R11 EVT-1)                                    Uninstall
 LOCATION
                                                      IS THIS UNIT DAMAGED?
 Name Meanwhile in Santa Cruz...
 Address Someplace in Santa Cruz                      Please take a photo of the sensor               Position flat
                                                      and/or shield before removing from
 GPS 36.98515, -122.05758 (4m
                                                      the container. This information will            over
     accuracy)
                                                      help the Compology team make                    sensor's
  Get Directions                                      improvements.
                                                                                                      angled
                                                        Take Photo
 INVESTIGATE                                                                                          camera
  Verify Image     Check Logs      FAQ                UNINSTALL INSTRUCTIONS                          surface as
 SENSOR TOOLS
                                                      Remove currently installed sensor
                                                      02860020A81338 from the bin.
                                                                                                      shown
                                                      Please verify the sensor ID on the
  Turn On/Off      Uninstall
                                                      back of the sensor matches.
                                                                                                                      Label this sensor using painters tape
                                                      Hold phone to front surface of sensor                           and a sharpie.
       I've Completed This Task
                                                      until yellow lights flash. If sensor is
                                                      not functioning properly, lights will
      I Cant Complete This Tas                        not flash and you may skip this step.

       <1            0          I=1




                                                                                                                                                              RTS_00333885
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                                                                                                                                                                          * 111:52

              Task for Test                                                                                                                         Task for Test


LOCATION

Name Unknown
                                                       Replacing a Sensor (continued)                                                 LOCATION

                                                                                                                                      Name Unknown
                                                                                   Procedure to replace a sensor                      Address Unknown
                                                                                                                                      GPS Unknown
   Doing a swap?
                                                      Click "Yes, Install" button on swap window                                      INVESTIGATE
   If you're replacing this sensor,
   continue with an install now.                                                                                                       FAQ

                  CANCEL     YES, INSTALL
                                                      *If window does not appear, click "install" in task*                            SENSOR TOOLS

                                                                                                                                       Install



      I've Completed This Task
                                                      1.    Select new sensor type                                                           I ve Completed This Task
                                                      2.    Turn on new sensor
     I Can't Complete This Task
                                                      3.    If sensor flashes green light, select "complete"                                 I Can't Complete This Task




  1. Select Sensor                                         2. Activate sensor                                               3. After green light,
        Type                                                                                                                select "Complete"
                                                                                                                                G i                           •   •       - 03:20
                                            ci 2:58
                                                                                                                                                 FS-7713              Cancel
                   FS-7713              Cancel
                                                                                                                            1. Bin Information                               O
1. Bin Information                                         1. Bin Information
                                                                                                                            2. Choose Sensor Type                            O

2. Choose Sensor Type                                      2. Choose Sensor Type                            Position flat   3. Activate and Assign Sensor
                                                                                                                            Tap sensor to turn it on and wait up to 5
What does your sensor look like?                                                                            over            minutes for a fresh image to appear
                                                           3. Activate and Assign Sensor                                    below. Verify image is in focus before

                                                           Tap sensor to turn it on and wait up to 5        sensor's        clicking 'Complete'. If there are errors,
                                                                                                                            try another sensor.
                                                           minutes for a fresh image to appear              angled          Sensor ID: 02860016852510
                                                           below. Verify image is in focus before
                                                           clicking 'Complete'. If there are errors,        camera
                                                           try another sensor.
                                                           Install started 4 minutes ago
                                                                                                            surface as
                                                                                                            shown
                                                                                                                                     -.NAL
                                                                                                                            0    Insane taken 5 minutes ago


                                                                                                                            Install started 8 minutes ago




                                                                                                                                                    O                 O




                                                                                                                                                                      RTS_00333886
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                            After Completing a Task
RETURNING SENSORS

 •   All damaged or malfunctioning sensors must be marked with tape and shipped back to
     Compology HQ
     Address:
      o 1045 Bryant Street, Suite 101, San Francisco, CA 94103
      o Fedex Account to charge will be provided by Compology




                                                                                          RTS_00333887
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      Physical Install
    & Uninstall Overview




                                                                     RTS_00333888
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Roll-Off Install Instructions




                                                                      RTS_00333889
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                                                                     RTS_00333890
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                          SENSOR
                          IN SHIELD

                                                                                  i
                                                              TOP VIEW




                                                                                                 1
                                                                                                 1
30YD ROLL OFF BIN

SENSOR LONG FACE
OPPOSITE DOOR END                                             SIDE VIEW
TOP BACK CORNER                                                                       DOOR END




                                                                                      RTS_00333891
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1. COMPLETE 'NEW INSTALL' WITH COMPOLOGY TECHNICIAN APP
2. ATTACH SENSOR TO SHIELD WITH SCREWS
3. PLACE SENSOR IN BIN AND HOLD IN PLACE USING BAR CLAMP

See 'Mounting Locations' document for positioning




                         M5 SS Lock
                         Washer (3X)
   M5x12 Bryce
Security Screw (3X)




                                                                                             RTS_00333892
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4. DRILL 6 HOLES USING THE 3/16" DRILL BIT



                                                            r    1




                                                                                                            BAD




                                                          IMPORTANT: Do not drill holes at the edge
                                                          of the box beam. Only drill holes where
                                                          there is open space behind a single
                                                          thickness of material




                                                          Preferred hole location shown. If these
                                                          locations are not available shift up or down,
                                                          but try to balance 3 on each side with more
                                                          towards the top.




                                                                                                          RTS_00333893
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5. INSTALL 6 3/16" RIVETS WITH RIVET GUN
6. ADD STICKER TO OUTSIDE OF BIN

IMPORTANT: If a rivet does not seat properly, or there is
a big gap between the shield and the bin at a given rivet
location, add more rivets elsewhere.




                                    3/16" Dome Head SS
                                         Rivets (3X)




                                                                                             RTS_00333894
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     DO NOT LOAD
      FROM THIS
       CORNER

      compologyequipped                                          KEEP OFF!
                                                                 Do not climb in. on or occupy
                                                                 this container for any purpose.

                                                                 Injury from slipping or falling
                                                                 could result in death or serious
                                                                 joie


                                                                AADVERTENCIA
                                                                ;PROKIBIDO!
                                                                No lugar encima ni dentro del
                                                                contenedor ni coma del memo.
                                        FALLING HAZARD Davos al caer o resbalarse pueden
                                        RIESGO DE RESBALAR      resultar en hendas graves o muerte.

                                                 d                VT,12` „„




                                  Sticker


                                                                                                      RTS_00333895
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Front-Load Install Instructions




                                                                        RTS_00333896
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                                                                     RTS_00333897
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                                                      BACK




                   UNSHIELDED
                   SENSOR
                                                      FRONT




                                                                 I
3YD FRONT LOAD BIN
UNSHIELDED SENSOR                                                                  FRONT         BACK


SENSOR INSIDE RIGHT FACE
TOP BACK CORNER




                                                                                           RTS_00333898
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1. COMPLETE 'NEW INSTALL' WITH COMPOLOGY TECHNICIAN APP
2. PLACE MAGNETIC TEMPLATE ONTO BIN
3. DRILL 3 HOLES USING 3/16" DRILL BIT

See 'Mounting Locations' document for positioning                                            3/16" Drill Bit




                                          IMPORTANT: Top 3 holes for R12




                                                                                                          RTS_00333899
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4. EXPAND HOLES USING STEPPED DRILL BIT                                                   Bryce M5x12 Security
5. MOUNT SENSOR                                                                                Screw (3X)
6. ADD STICKER TO OUTSIDE OF BIN

                                                                                  M5 Flat SS
                                                                                  Washer(3X)




                                                                                                     M5 SS Lock
                                                                                                     Washer (3X)




   Neiko 10182A Titanium
        Step Drill Bit




                                                                                                       RTS_00333900
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Roll-Off Uninstall Instructions




                                                                       RTS_00333902
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1. TURN OFF SENSOR (VERIFY YELLOW BLINKING LIGHT)
2. HOLD SENSOR IN PLACE USING BAR CLAMP
3. DRILL OFF HEAD FLANGES OF RIVETS USING #3 DRILL-POINT COUNTERSINK


                                                                                        #3 Drill-point
                                                                                        Countersink




                                                                                                         RTS_00333903
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4. USING A HAMMER AND 5/32" PUNCH, PUSH RIVETS THROUGH HOLES
5. REMOVE SCREWS & SENSOR (IF POSSIBLE)




                      5/32" Punch




                                                                                       RTS_00333904
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Front-Load Uninstall Instructions




                                                                         RTS_00333905
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1. TURN OFF SENSOR (VERIFY YELLOW BLINKING LIGHT)
2. REMOVE SCREWS & SENSOR




                                                                                        RTS_00333906
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                      General




                                                                     RTS_00333907
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                                           Disclaimers
NOTICE:
This device complies with Part 15 of the FCC Rules and with Industry Canada licence-exempt RSS standard(s).
Operation is subject to the following two conditions:
 1.    this device may not cause harmful interference, and
 2.    this device must accept any interference received, including interference that may cause undesired operation.


Le present appareil est conforme aux CNR d'Industrie Canada applicables aux appareils radio
exempts de licence. L'exploitation est autorisee aux deux conditions suivantes:
(1) l'appareil ne doit pas produire de brouillage, et
(2) l'appareil doit accepter tout brouillage radioelectrique subi, meme si le brouillage est susceptible d'en compromettre le fonctionnement.


NOTICE:
Changes or modifications made to this equipment not expressly approved by (manufacturer name) may void the FCC authorization to
operate this equipment.




                                                                                                                                        RTS_00333908
